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 1 LAW OFFICE OF DAVID A. TORRES
   Attorney at Law (State Bar # 135059)
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   Bakersfield, California 93301
 3 Tel.: (661) 326-0857

 4   Attorney for:
     CARLOS JUAN GONZALES
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 7

 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                              EASTERN DISTRICT OF CALIFORNIA
10

11

12   UNITED STATES OF AMERICA,                                                m. 06-CR-0071-OWW

13                                                               PLAINTIFF,   STIPULATION AND PROPOSED
                                                                              ORDER MODIFYING
14                                                                            CONDITIONS OF RELEASE
                                                           vs.
15
     CARLOS JUAN GONZALES,
16
                                                                 DEFENDANT.
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     TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE LAWRENCE
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     J. O’NEILL, AND UNITED STATES PRETRIAL SERVICES:
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                      On February 24, 2006, Honorable Lawrence J. O’Neill ordered the defendant, CARLOS
21
     JUAN GONZALEZ, to be released on a $80,000 property bond with numerous conditions. On
22
     March 2, 2006 the property to be used for the bond was appraised at $77,500.00. I am respectfully
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     requesting for the order of release be modified to reflect the property bond be set at $77, 500.00. I
24
     have spoken with Government counsel, Virna L. Santos and informed her of the property value
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     appraisal. Due to the value being so close to the original bond order, she has no objection to the
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     property bond being lowered to $77,500.00.
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 1
     Dated: 03/10/2006                                             /s/ David A. Torres
 2                                                                 DAVID A. TORRES
                                                                   Attorney for Defendant
 3

 4                                                                 McGREGOR W. SCOTT
                                                                   United States Attorney
 5
                                                             By:
 6   Dated:                                                        /s/ Virna L. Santos
                                                                   VIRNA L. SANTOS
 7                                                                 Assistant U.S. Attorney

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10
                                                           ORDER
11
                      The defendant’s conditions of release are hereby modified in that the amount of property
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     bond to be posted is hereby reduced to $77,500. All other conditions of release remain
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     unchanged.
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     IT IS SO ORDERED.
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     Dated:                   March 15, 2006                     /s/ Lawrence J. O'Neill
16   b9ed48                                                UNITED STATES MAGISTRATE JUDGE

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